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     Attorneys for Defendant
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                                      UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN FRANCISCO DIVISION
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12   SARAH J. KUHL,                                   ) Case No. 3:23-CV-05604-LJC
                                                      )
13           Plaintiff,                               ) STIPULATION
                                                      )
14      v.                                            )
                                                      )
15   DENIS R. McDONOUGH, Secretary,                   )
     Department of Veterans Affairs,                  )
16                                                    )
             Defendant.                               )
17                                                    )
18           Plaintiffs and Defendant (the “Parties”) hereby stipulate and jointly request that the Court modify
19 the date of the Initial Case Management Conference, currently set for June 13, 2024, to July 11, 2024.

20           The Parties request to modify the date of the Initial Case Management Conference in this matter
21 to accommodate a deposition in another matter being handled by Defendant’s counsel, scheduled at the

22 same time as the Initial Case Management Conference.

23           IT IS SO STIPULATED.
24 DATED: June 6, 2024                                    Respectfully submitted,
25                                                        ISMAIL J. RAMSEY
                                                          United States Attorney
26

27                                                        /s/ Michael A. Keough
                                                          MICHAEL A. KEOUGH
28                                                        Assistant United States Attorney
     JOINT STIPULATION AND ORDER REGARDING DATE OF CMC Case No.
     3:23-CV-05604-LJC
                                                          1
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 1
                                                         Attorneys for Defendant
 2
                                                         /s/ Sarah J. Kuhl*
 3                                                       SARAH J. KUHL
 4                                                       Plaintiff Pro Se
 5
   * In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of
 6 perjury that all signatories have concurred in the filing of this document.

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     JOINT STIPULATION AND [ORDER REGARDING DATE OF CMC Case No.
     3:23-CV-05604-LJC
                                                         2
              Case 3:23-cv-05604-LJC Document 23 Filed 06/07/24 Page 3 of 3




 1                                               ORDER

 2          Pursuant to the stipulation of the Parties, the Case Management Conference currently set for

 3 currently set for June 13, 2024, to July 11, 2024.

 4          IT IS SO ORDERED.

 5    Dated: June 7, 2024

 6                                             UNITED STATES DISTRICT JUDGE
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     JOINT STIPULATION AND ORDER REGARDING DATE OF CMC Case No.
     3:23-CV-05604-LJC
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